943 F.2d 50
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Reginald J. HUNT, Defendant-Appellant.
    No. 91-5296.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 26, 1991.Decided Sept. 9, 1991.
    
      Appeal from the United States District Court for the District of South Carolina, at Columbia.   Clyde H. Hamilton, District Judge.  (CR-91-140-3)
      Reginald J. Hunt, appellant pro se.
      Eric William Ruschky, Assistant United States Attorney, Columbia, S.C., for appellee.
      D.S.C.
      AFFIRMED.
      Before WILKINSON and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Reginald J. Hunt appeals from the district court's order affirming the decision of the magistrate judge finding Hunt guilty of a traffic offense on a military base.   Our review of the record and the district court's opinion discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   United States v. Hunt, CR-91-140-3 (D.S.C. Apr. 23, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    